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                                                                                Oct 24, 2024
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 7       Attorneys for Plaintiff
         United States of America
 8

 9                                   IN THE UNITED STATES DISTzuCT COURT

10                                       EASTERN DISTRICT OF CALIFORNIA

1l
                                                                                2:24-cr-0291 DC
l2 LINITED STATES OF AMERICA,                                CASE NO.

13                                     Plaintiff,            21 U.S.C. $ 841(a)(1) - Distribution of

t4                              V
                                                             Methamphetamine (2 counts);21 U.S.C. $ 841(axl)     -
                                                             Distribution of Heroin; 21 U.S.C. $ 853(a) - Criminal
                                                             Forfeiture
15       BOGART MERCADO,

16                                    Defendant.

t7
18                                                  INDICTMENT
t9 COLINT ONE: [21 U.S.C. $ 8a1(a)(1) - Distribution of Methamphetamine]
20              The Grand Jury charges: T H A T

2l                                                  BOGART MERCADO,

22       defendant herein, on or about Ju,ly 25,2024, in Sacramento County, State and Eastern District of

23       California, did knowingly and intentionally distribute at least 500 grarns of a mixture and substance

24       containing a detectable amount of methamphetamine, a Schedule II Controlled Substance, in violation of

25       Title2I, United States Code, Section 84l(a)(1).
26

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          INDICTMENT
                      Case 2:24-cr-00291-DC Document 14 Filed 10/24/24 Page 2 of 5


         ICOLINT TWO: [21 U.S.C. $ 8a1(a)(1) - Distribution of Methamphetamine]
         l-
     1


     2           The Grand Jury further charges: T H A T

     J                                              BOGART MERCADO,

  4       defendant herein, on or about August 28,2024, in Sacramento County, State and Eastern District of

  5       California, did knowingly and intentionally distribute at least 500 grams of a mixture and substance

  6      containing a detectable amount of methamphetamine, a Schedule II Controlled Substance, in violation of
  1      Title2l, United States Code, Section 841(a)(1).
  8      COUNT THREE: [2] U.S.C. $ 8al(a)(1) - Distribution ofHeroin]

  9              The Grand Jury further charges: T H A T

10                                                  BOGART MERCADO,

11       defendant herein, on or about August 28,2024, in Sacramento County, State and Eastern District of

12       California, did knowingly and intentionally distribute at least 100 grams of a mixture and substance

13       containing a detectable amount of heroin, a Schedule I Controlled Substance, in violation of Title 21

t4 United States Code, Section 8a1(a)(1).
15       FORFEITTIRE ALLEGATION: [21 U.S.C. g 853(a) - Criminal Forfeiture]

t6               1.      Upon conviction of one or more of the offenses alleged in Counts One through Three of

t7 this'Indictment, defendant BOGART MERCADO shall forfeit to the United States pursuant to Title 21,
18       United States Code, Section 853(a), the following property:

t9                       a.     Any real or personal property, which constitutes or is derived from proceeds

20       obtained, directly or indirectly, as a result of such offenses; and any property used, or intended to be

21,      used, in any manner or part to commit or to facilitate the commission of the offenses.

22                       b.     A sum of money equal to the total amount of proceeds obtained as a result of the

23       offenses, for which defendant is convicted.

24              2.       If any properly subject to forfeiture, as a result of the offenses alleged in Counts One

25       through Three of this Indictment, for which defendant is convicted:

26                      a.      cannot be located upon the exercise of due diligence;

27                      b.      has been transferred or sold to, or deposited with, a third pafiy;

28                      c.      has been placed beyond the jurisdiction of the Court;


                                                               2
          INDICTMENT
                   Case 2:24-cr-00291-DC Document 14 Filed 10/24/24 Page 3 of 5

     1                   d.      has been substantially diminished in value; or

 2                       e.      has been commingled with other property which cannot be divided without
 a
 J                               difficulty;

 4       it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to seek

 5       forfeiture of any other properly of defendant, up to the value of the property subj ect to forfeiture.

 6

 7                                                                      A TRUE BILL.

 8                                                                    /s/ Signature on flle WAUSA
 9
                                                                        FOREPERSON
10

11       PHILLIP A.
         United States Attomey
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                                                              J
          INDICTMENT
             Case 2:24-cr-00291-DC Document 14 Filed 10/24/24 Page 4 of 5
                                                                          2:24-cr-0291 DC
No.




                             UNITED STATES DISTRICT COURT
                                         Eastern District of California

                                              Criminal Division


                               TFM LINITED STATES OF AMERICA
                                                         ys.



                                            BOGART MERCADO


                                             INDICTMENT
      VIOLATION(S): 21 U.S.C. $ 841(a)(1) - Distribution of Methamphetamine (2 counts);
                      21 U.S.C. $ 841(a)(1) - Distribution of Heroin;
                         21 U.S.C. $ 853(a) - Criminal Forfeiture


        A true bill,                    *r,i11i?ure
                                   ':                  on flle MAUSA

                                                   Foreman.




        Filed in open court this                    24th day

        of    October                     ,4.D.20 24

                                           /s/ R. Alvarez
                                                       Clerk.




        Bail, $   No process necessary.




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                                                                        2:24-cr-0291 DC


                        United States v. Boeart MERCADO
                              Penalties for Indictment

Bogart MERCADO

COUNT 1:

VIOLATION: 2l U.S.C. $ 841(a)(1) - Distribution of Methamphetamine
PENALTIES:        Mandatory minimum of 10 years in prison and a maximum of up to life in
                  prison; or
                  Fine of up to $ I 0,000,000; or both fine and imprisonment
                  Supervised release ofat least 5 years up to life.

SPECIAL ASSESSMENT: $100 (mandatory on each count)

W:
VIOLATION: 2l U.S.C. $ 8a1(a)(l) - Distribution of Methamphetamine
PENALTIES         Mandatory minimum of l0 years in prison and a maximum of up to life in
                  prison; or
                  Fine of up to $10,000,000; or both fine and imprisonment
                  Supervised release of at least 5 years up to life.

SPECIAL ASSESSMENT: $100 (mandatory on each count)

COUNT 3:

VIOLATION: 2l U.S.C. $ 8al(a)(l) - Distribution of Heroin
PENALTIES:        Mandatory minimum of 5 years in prison and a maximum of 40 years in
                  prison; or
                  Fine of up to $5,000,000; or both fine and imprisonment
                  Supervised release of at least 4 years up to life



SPECIAL ASSESSMENT: $100 (mandatory on each count)


FORFEITURE ALLEGATION :

VIOLATION: 2l U.S.C. 853(a) - CriminalForfeiture
PENALTIES: As stated in charging document
